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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


LEAGUE OF UNITED LATIN AMERICAN
CITIZENS, et al.,

                   Plaintiffs,
                                             Civil Action No. 25-0946 (CKK)
v.

EXECUTIVE OFFICE OF THE
PRESIDENT, et al.,

                   Defendants.


DEMOCRATIC NATIONAL
COMMITTEE, et al.,

                   Plaintiffs,
                                             Civil Action No. 25-cv-0952 (CKK)
v.

DONALD J. TRUMP, in his official capacity
as President of the United States, et al.,

                   Defendants.


LEAGUE OF WOMEN VOTERS
EDUCATION FUND, et al.,

                   Plaintiffs,
                                             Civil Action No. 25-0955 (CKK)
v.

DONALD J. TRUMP, in his official capacity
as President of the United States, et al.,

                   Defendants.


                   DEMOCRATIC PARTY PLAINTIFFS’ REPLY
            IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION
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                                       INTRODUCTION

       To avoid reckoning with the Executive Order’s serial violations of statutory and

constitutional law, Defendants take the remarkable position that the Order’s clear commands mean

nothing, and therefore Plaintiffs lack standing, a ripe cause of action, or a likely prospect of

irreparable harm. According to them, there is just no telling whether executive branch agencies

will, in fact, comply with the President’s explicit commands. But just three days after Plaintiffs

moved for emergency relief, the Election Assistance Commission began acting on the Order’s

commands by sending letters to elections officials nationwide concerning the E.O.’s

“implement[ation].” Ex. 1. That is hardly surprising. The plain terms of the E.O. demand a top-to-

bottom restructuring of election administration in a manner aimed at systematically disadvantaging

the Democratic Party, including its national committees and organizations, its congressional

leaders and other candidates, and its voters. And those terms leave no room for future factual

contingencies that could ameliorate the straightforward legal deficiencies. The E.O. explicitly

mandates that each Defendant agency make voter registration more difficult, mail voting more

precarious, or personal data less private, all in violation of the law. Because Defendants’ brief

conspicuously lacks any suggestion that any Defendant may disregard the President’s formal

directives, preliminary relief is necessary to preserve the status quo and avoid further injury to

Plaintiffs’ competitive, organizational, and associational interests.

       Defendants’ cursory discussion of the merits does nothing to explain how the President,

with his limited authority over elections, can impose such sweeping changes by fiat. On the Receipt

Deadline provisions, they suggest the Attorney General has “discretion” to execute the President’s

order. That not only ignores the plain text of the President’s commands, but also pretends the E.O.

does not mandate a predetermined (and unlawful) outcome—the imposition of a “uniform day”

for ballot receipt found nowhere in federal law. Defendants point only to single outlying federal

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decision to support their view of the law yet cannot muster even a single word in that decision’s

defense beyond noting that it is “recent.” On the DPOC provisions, the Government fails to defend

Section 2(d) altogether, a provision that targets people receiving public assistance who are likely

to favor Democratic candidates. As for adding a DPOC requirement to the Federal Form,

Defendants seek to hide behind the EAC’s decision-making procedures, even as President Trump

makes clear his view that EAC Commissioners have no choice but to obey him. And, in any event,

the NVRA bars precisely the modification that President Trump seeks to impose. Finally, the

Government’s defense of the Data-Sharing provisions are equally flimsy, ignoring that in the

ordinary course State and local officials may access sensitive federal data only by request and

subject to strict rules. The E.O. turns this on its head, commanding federal agencies to open the

floodgates of protected personal data held by the federal government, notwithstanding the Privacy

Act’s limitations. Each of these unlawful acts grossly exceeds President Trump’s authority and

offends the separation of powers. The Court should preliminarily enjoin this unlawful usurpation.

                                         ARGUMENT

I.     Plaintiffs’ claims are justiciable.
       A.      Plaintiffs have standing.

       Plaintiffs satisfy each of the elements required to establish Article III standing. They have

suffered, and continue to suffer, concrete and particularized injuries that “directly affect[] and

interfere[] with [their] core . . . activities.” FDA v. All. for Hippocratic Med., 602 U.S. 367, 395

(2024). The E.O. initiates a “predictable chain of events leading from th[at] government action to




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the asserted injury.” Id. at 385. 1 And Plaintiffs’ ongoing injuries will be redressed by enjoining

Defendants from implementing the unlawful provisions that the E.O. assigns to them. Id. at 380.

       Defendants’ primary response is to recast the Executive Order as a mere Executive

Suggestion, positing that there is no way to know whether agency heads commanded under the

E.O. will, in fact, comply with its terms. See Resp. 11–14. Thus, they argue, any injury that is

conditional on that compliance is too speculative for Article III. See id. But this argument runs

headlong into the President’s own commands. President Trump has already declared that “[t]he

President and the Attorney General’s opinions on questions of law are controlling on all employees

in the conduct of their official duties,” and “[n]o employee of the executive branch acting in their

official capacity may advance an interpretation of the law as the position of the United States that

contravenes the President or the Attorney General’s opinion on a matter of law.” Exec. Order No.

14215 § 7, 90 Fed. Reg. 10447, 10448–49 (Feb. 24, 2025). That order provides no exception for

EAC Commissioners or the other Defendants here. Moreover, each of E.O. 14248’s challenged

provisions asserts the President’s legal interpretation in the form of a command: the EAC “shall”

modify the Federal Form to require narrowly defined DPOC, E.O. § 2(a); heads of DHS, DOS,

and DOGE “shall” share personal data, id. § 2(b); heads of federal voter registration agencies

“shall assess citizenship prior to providing a Federal voter registration form to enrollees of public

assistance programs,” id. § 2(d); the Attorney General “shall” enforce the President’s preferred

election day ballot-receipt deadline, id. § 7(a); and the EAC “shall condition any available funding


1
 Alliance for Hippocratic Medicine explicitly recognizes that parties have standing to challenge
government regulation of third parties where it is “likely that the government’s regulation . . . of
someone else will cause a concrete and particularized injury in fact to the unregulated plaintiff.”
602 U.S. at 385 n.2. Because the Attorney General’s enforcement of an election day ballot-receipt
deadline against States would injure Plaintiffs, see Mem. 10–11, 13–14, 17, Plaintiffs have
standing to sue the Attorney General regardless of whether any States are parties to the action.
Contra Resp. 13.

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to a State” on that State’s compliance with the President’s preferred ballot-receipt deadline, id.

§ 7(b); Anglers Conservation Network v. Pritzker, 809 F.3d 664, 671 (D.C. Cir. 2016) (recognizing

the common rule that “shall is mandatory”). None of these provisions can be read to provide

Defendants with a choice for the directives that Plaintiffs have identified as unlawful.

       By their nature, executive orders are more than mere recommendations; wherever there is

“a nexus between the [order] and some delegation of the requisite legislative authority by

Congress,” an executive order carries the force of law. Chrysler Corp. v. Brown, 441 U.S. 281,

304 (1979). Defendants cannot simultaneously insist that Executive Orders have legal force while

proposing that agency compliance “may never occur.” Resp. 12. When the President purports to

promulgate a new law in no uncertain terms, parties who will foreseeably be injured by that law’s

operation have standing. See City & Cnty. of S.F. v. Trump, 897 F.3d 1225, 1236 (9th Cir. 2018)

(holding plaintiffs had standing to challenge executive order notwithstanding “the possibility of

non-enforcement”); Washington v. Trump, 2025 WL 509617, at *4 (W.D. Wash. Feb. 16, 2025)

(recognizing standing in pre-enforcement challenge to executive order where plaintiffs “intend to

engage in a course of conduct in conflict with” the order); Indigenous Env’t Network v. Trump,

428 F. Supp. 3d 296, 306 (D. Mont. 2019) (same, notwithstanding contingency of future agency

action, because agencies “report directly to the President”). 2


2
 Defendants only cite cases where, unlike here, agencies were not required to take any substantive
action that would injure plaintiffs. See United Presbyterian Church in the U.S.A. v. Reagan, 738
F.2d 1375, 1380 (D.C. Cir. 1984) (emphasizing that executive order merely “authorize[d]” the
challenged surveillance activities and did not “direct” them); Center for Democracy & Technology
v. Trump, 507 F. Supp. 3d 213, 222 (D.D.C. 2020) (emphasizing that order merely instructed
agencies to “propose,” “review,” and “consider” various actions), vacated as moot sub nom.
Center for Democracy & Technology v. Biden, 2021 WL 11659822 (D.C. Cir. Aug. 9, 2021); Defs.
of Wildlife v. Perciasepe, 714 F.3d 1317, 1324–25 (D.C. Cir. 2013) (emphasizing that challenged
consent decree did not “require” agency “to promulgate a new, stricter rule”); Platte River
Whooping Crane Critical Habitat Maint. Tr. v. FERC, 962 F.2d 27, 35 (D.C. Cir. 1992) (injury
was contingent on speculative court-ordered conditions on hydroelectric licenses).

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               1.      The Democratic Party Plaintiffs have competitive standing.

       Defendants misunderstand the doctrine of competitive standing, suggesting that such

standing does not exist where voters from both major parties will be “subject to the same

requirements.” Resp. 15. In cases finding competitive standing, however, few of the challenged

laws facially discriminated against voters based on their party affiliation. Rather, the decisions

recognized that political parties may challenge laws that “arguably promote [their opponents’]

electoral prospects.” Owen v. Mulligan, 640 F.2d 1130, 1133 (9th Cir. 1981); see also, e.g., Shays

v. FEC, 414 F.3d 76, 85–86 (D.C. Cir. 2005) (recognizing competitive standing to challenge

campaign finance rules that subjected everyone to the same requirements); Lee v. Va. State Bd. of

Elections, 155 F. Supp. 3d 572, 578 (E.D. Va. 2015) (same as to voter ID law); Bay Cnty.

Democratic Party v. Land, 347 F. Supp. 2d 404, 423 (E.D. Mich. 2004) (same as to provisional

ballot rules); New Hampshire Democratic Party v. Gardner, 2018 WL 5929044, at *2 (N.H. Super.

Apr. 10, 2018) (same as to voter registration rules). 3

       As to the specific provisions that Plaintiffs challenge, Defendants second-guess facts in

Plaintiffs’ sworn declarations and other exhibits without identifying any contrary evidence. On the

Receipt Deadline provisions, Plaintiffs marshaled extensive support for their allegations that

Democratic voters make up the largest share of mail voters in key states with extended ballot

receipt deadlines, and that an earlier deadline will systematically increase the rejection rate of this

Democratic-skewing category of ballots. See Dem. Party Pls.’ Mem. in Supp. of Mot. for Prelim.

Inj. at 10–11, ECF No. 53-1 (“Mem.”). Defendants’ unsupported hypothesis that some voters may




3
  It is particularly dubious for Defendants to decry “generalized grievance[s]” as to the Receipt
Deadline provisions when their sole authority on the merits of that issue rejected the argument that
the party plaintiffs’ grievances were generalized. See Republican Nat’l Comm. v. Wetzel, 742 F.
Supp. 3d 587, 595 (S.D. Miss.), rev’d on other grounds, 120 F.4th 200 (5th Cir. 2024).

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change their behavior to cast an earlier ballot ignores the unpredictability of mail delays—an

element beyond the voter’s control—and that the disenfranchisement of only some voters can still

affect electoral outcomes. Id. On the DPOC provisions, Defendants do not dispute that Democratic

voters are more likely to be harmed, but assert instead that a requirement to obtain documents to

vote does not inflict an injury for standing. See Resp. 17. Courts have already held otherwise. E.g.,

Crawford v. Marion Cnty. Election Bd., 472 F.3d 949, 951 (7th Cir. 2007). And on the Data-

Sharing provisions, Defendants, again, do not dispute that “a disproportionate share of would-be

Democrat[ic] registrants” will fear the nonconsensual sharing of their personal information—the

very premise of the competitive injury. Resp. 17. At each turn, Defendants contemplate the

hypothetical consequences of an imaginary record where declarations did not precisely document

the injuries to Democrats’ electoral interests. But Plaintiffs’ clear injuries are not speculative

merely because Defendants engage in such idle, counterfactual speculation.

               2.      The Party Organizations have associational standing.

       Defendants fail to undermine the Party Organizations’ associational standing. See Hunt v.

Washington State Apple Advert. Comm’n, 432 U.S. 333, 343 (1977) (holding an organization has

such standing if (1) “its members would otherwise have standing to sue,” (2) the “interests it seeks

to protect are germane” to its purpose, and (3) “participation of individual members” is not

required). They challenge only the first and third prongs, Resp. 19–22, and are wrong on both.

       Defendants first assert that the Party Organizations have made “no showing” that any

named “member has been or will be injured,” which Defendants appear to assume is a prerequisite

for obtaining a preliminary injunction. Resp. 19–20 (citing Summers v. Earth Island Inst., 555 U.S.




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488, 497 (2009)). 4 But Defendants are just wrong that the Party Organizations have not identified

injured members, even assuming their view of Summers is right. For example, DGA named all its

formal members. See Edelman Decl. ¶¶ 4, 6, 10, 20 (identifying members). And all of the

declarants, including Leader Jeffries and Leader Schumer, as well as DGA’s members, are also

members of the DNC. See Schneider Decl. ¶¶ 4–5. As to each provision Plaintiffs seek to enjoin,

“at least one” member is injured. Summers, 555 U.S. at 498.

       To begin, and as already explained, all three categories of the E.O. provisions that Plaintiffs

challenge harm the electoral prospects of members who are candidates—including Leader Jeffries,

Leader Schumer, and at least five specifically named members of DGA. Mem. 10–11, Edelman

Decl. ¶ 6. The Receipt Deadline provisions also injure members who vote by mail by shortening

the time they have to consider candidates and return their ballots, and by placing them at a greater

risk of disenfranchisement. Mem. 13–14; see Edelman Decl. ¶¶ 4, 9; Snyder Decl. ¶ 6. They further

harm DGA’s members by usurping their personal influence and authority within their states. Mem.

14. And the Data-Sharing provisions offend the privacy of all the above-named members and

similarly impose risks associated with error-prone scrutiny of their registrations. Mem. 15.

       Ignoring these member-specific injuries, Defendants seek to move the goalposts as to what

counts as an injury. They claim that Plaintiffs must “at the very least . . . name a member without

qualifying documentary proof of citizenship and with a specific plan to register to vote using the

Federal Form at a definite point in the future; a member who is a UOCAVA voter whose ballot


4
  As this Court recently observed, “the manner and degree of evidence required” to establish
associational standing “varies ‘at the successive stages of the litigation.’” All. for Retired Ams. v.
Bessent, 2025 WL 740401, at *13 (D.D.C. Mar. 7, 2025) (quoting Lujan v. Defs. of Wildlife, 504
U.S. 555, 561 (1992)). It is thus not clear that Summers, a case decided at summary judgment,
requires “names” at the preliminary injunction stage. Cf. NAACP v. Trump, 298 F. Supp. 3d
209,225–26 & n.10 (D.D.C. 2018). In any event, the Court need not resolve the issue because the
Party Organizations have identified injured members.

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was accepted after Election Day in 2024; and a member who has a specific plan to not register to

vote or to cancel their voter registration due to concern about data-sharing.” Resp. 21 (emphasis

in original). Plaintiffs agree that such members also possess individual standing to seek the same

relief against the E.O. based on the same claims; 5 Defendants’ simply fail to appreciate that the

injuries suffered by members Plaintiffs have identified also satisfy standing’s requirements. E.g.,

NRDC v. U.S. Fish & Wildlife Service, 719 F. Supp. 3d 1, 11 (D.D.C. 2023).

       Finally, Defendants’ argument that Plaintiffs cannot show that participation of members is

unnecessary (i.e., prong three) depends entirely on the false assertion that Plaintiffs have “not

alleged or shown that anyone, let alone any of its own members” are injured. Resp. 21 (quoting

Travelers United, Inc. v. Hyatt Hotels Corp., 2025 WL 27162, at *15 (D.D.C. Jan. 3, 2025)). That

argument fails for the same reasons already described. In any event, this Court’s decision in

Travelers United is inapposite. That was a class-action removal case involving alleged violations

of state consumer-protection laws in which the defendant—because of their choice to seek

removal—bore the burden of establishing federal jurisdiction, and sought to do so by ascribing

injuries to purported individual members that the plaintiff organization did not even claim. 2025

WL 27162, at *1, 15. Here, in contrast, the Party Organizations alleged and established multiple

injuries to identified members stemming from each challenged provision—and, as next explained,

also to themselves as organizations.

               3.     The Party Organizations have organizational standing.

       Defendants also fail to rebut the Party Organizations’ showing of organizational standing,

entirely disregarding the parts of the preliminary injunction record that demonstrate how the


5
  Indeed, the record even at this early stage shows that Party Organization members also fall into
these categories of concededly injured voters. See Schneider Decl. ¶¶ 9–12, 19–20, 24–25; Snyder
Decl. ¶¶ 8–10, 18–19, 22–23; Ruselowski Decl. ¶¶ 9–12, 18–22, 25.

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challenged provisions of the E.O. directly and perceptibly impair the Party Organizations’ core

activities and missions. None of that harm is surprising—the E.O. is purposefully designed to serve

as a broadside attack on President Trump’s political opponents.

       The Receipt Deadline provisions, for instance, directly undermine the Party Organizations’

core mail voting, education, and turnout efforts by creating a rule that is inconsistent with several

state laws—including those where voting by mail is the norm—guaranteeing voter confusion and

disenfranchisement of members and constituents who have benefited from these efforts. Mem. 17;

see Schneider Decl. ¶¶ 8–16; Edelman Decl. ¶¶ 8–12; Snyder Decl. ¶¶ 6–12; Ruselowski Decl.

¶¶ 7–12, 15. Likewise, the DPOC provisions directly undermine the Party Organization’s core

voter registration, education, and turnout efforts by making it more difficult for their members and

constituents (qualified voters and U.S. citizens) to register and remain registered to vote, including

those citizens who currently lack qualifying proof altogether—especially in Arizona, where voters

will have no option to register without producing such proof. Mem. 18; see also Schneider Decl.

¶¶ 18–21; Edelman Decl. ¶¶ 13–15; Snyder Decl. ¶¶ 16–20; Ruselowski Decl. ¶¶ 18–23. And the

Data-Sharing provisions undermine their voter registration and turnout efforts by making it more

difficult to register privacy-sensitive voters and by placing their members and constituents at an

increased risk of improper removal from the rolls based on flawed matching systems. See Mem.

19. Defendants offer nothing but their say-so to refute this extensive evidence.

       The challenged provisions of the E.O. therefore strike at the very core of the Party

Organizations’ missions, especially given that mail voters tend to support Democratic candidates

more than other candidates. Mem. 10–12. The same is true of those voters most likely to be targeted

and harmed by unnecessary DPOC requirements. Id. Thus, it is precisely because the provisions

directly and perceptibly impair the Party Organizations’ core activities that they must divert critical



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resources away from other priorities to counteract those harms—and they must do so even as they

are “actively planning, preparing, budgeting, and strategizing” for rapidly approaching elections.

Schneider Decl. ¶¶ 6, 22; see Mem. 16–19, 36–43. Defendants make no meaningful argument to

the contrary. See Resp. 18–19. And given that failure, it is unsurprising that Defendants are unable

to offer any response whatsoever to the growing swell of cases—before and after Alliance for

Hippocratic Medicine—holding that plaintiffs evidencing similar impairments to core activities

(and resulting resource diversions) meet Article III’s standing threshold. Compare Mem. 17 n.10

(collecting cases), with Resp. 18–19. Plaintiffs have organizational standing.

       B.      Plaintiffs’ claims are ripe.

       The E.O. presents a ripe dispute for the same reasons it inflicts current and ongoing injuries

that confer standing. When evaluating whether a claim is ripe for review, courts consider (1) “the

fitness of the issues for judicial decision” and (2) “the hardship to the parties of withholding court

consideration.” Andrade v. Lauer, 729 F.2d 1475, 1480 (D.C. Cir. 1984). Ripeness concerns

dissipate when an action presents a “purely legal issue.” U.S. Air Tour Ass’n v. FAA, 298 F.3d 997,

1014 (D.C. Cir. 2002). And when “a threatened injury is sufficiently ‘imminent’ to establish

standing, the constitutional requirements of the ripeness doctrine will necessarily be

satisfied.” Nat’l Treasury Emps. Union v. United States, 101 F.3d 1423, 1428 (D.C. Cir. 1996).

       Here, as Defendants concede, Resp. 23, Plaintiffs’ challenge to the scope of presidential

power presents a series of purely legal issues: Does the President have authority to dictate orders

to the independent EAC? May he require agency heads to turn over private data to State and local

officials? May he arbitrarily condition the provision of registration forms to enrollees of public

assistance programs? May he order the Attorney General to enforce a ballot receipt deadline that

has no basis in any federal statute? Each of these legal questions can be readily resolved now

without any further factual development—the U.S. Constitution, U.S. Code, and U.S. Reports

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provide all that is necessary to determine that the President exceeded his authority. And Plaintiffs

have already established concrete, particularized, and non-speculative injuries that “loom over

Plaintiffs to this day.” Nat’l Council of Nonprofits v. Off. of Mgmt. & Budget, 2025 WL 597959,

at *11 (D.D.C. Feb. 25, 2025). In contrast, Defendants cannot identify any factual contingencies

that could affect the E.O.’s lawfulness.

       The fact that additional agency action remains forthcoming does not alter the analysis.

When a challenged law “violates the separation of powers,” as Plaintiffs allege, “it inflicts a ‘here-

and-now’ injury on affected third parties that can be remedied by a court.” Seila Law LLC v. CFPB,

591 U.S. 197, 212 (2020); see also Axon Enterp., Inc. v. FTC, 598 U.S. 175, 192 (2023) (holding

that plaintiffs may challenge an “unconstitutionally structured decisionmaking process” before

suffering final agency action). Defendants’ concern that adjudication now would deprive the EAC

of the opportunity to “apply its expertise” in implementing the DPOC requirement, Resp. 41,

altogether ignores that the central thrust of section 2(a)—and the source of Plaintiffs’ injury—is

its command that the EAC forfeit its expertise and robotically implement the President’s preferred

DPOC policy. Similarly, Defendants argue that challenges to agency directives must await further

development where the directives “do not prescribe conduct but rather allow some agency

discretion on how to best effectuate the directive.” Resp. 42. But what does the challenged E.O.

do if not “prescribe conduct”? See E.O. §§ 2, 7 (prescribing what each Defendant “shall” do). None

of these commands permits any discretion that would allow the Defendant agencies to avoid the

head-on collision with contrary statutes. For all their clamoring for further factual development,




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Defendants cannot even hypothesize a potential lawful implementation of the E.O. 6

       Instead, Defendants’ April 15 filing suggests that there have not been any steps towards

implementing the E.O., and faults Plaintiffs for “not establish[ing]” that the EAC has even “begun”

the process of updating the Federal Form. Resp. 11. But four days prior, the EAC’s Executive

Director and declarant sent a letter to state officials explaining that the E.O. “instructs” DPOC “be

required” on the Federal Form and purporting to seek their “input” in implementation. Ex. 1.

II.    Plaintiffs are likely to succeed on the merits.

       Once Defendants’ threshold jurisdictional arguments are set aside, they have relatively

little to say on the merits. See Resp. 23–29. Their arguments as to each of the three merits issues—

the E.O.’s ballot receipt deadline, DPOC, and data-sharing commands—boil down to the

unfettered assertion that the President has king-like authority to issue commands to federal

agencies. See id. at 24 (citing Bldg. & Const. Trades Dep’t, AFL-CIO v. Allbaugh, 295 F.3d 28,

32 (D.C. Cir. 2002)). Yet their own authority confirms that the President’s power is “not without

limits” and that his obligation “to see that the laws are faithfully executed refutes the idea that he




6
  Decisions in other recent challenges to executive orders, including orders that required funding
to be revoked, confirm that plaintiffs need not await the full implementation of the challenged
order before bringing suit. See, e.g., PFLAG, Inc. v. Trump, 2025 WL 510050, *6 (D. Md. Feb.
14, 2025); PFLAG, Inc. v. Trump, 2025 WL 685124, at *8 (D. Md. Mar. 4, 2025) (recognizing
that “ripeness cannot hinge on the actual revocation of funding because the threat of revocation of
funding was enough to compel the [plaintiffs to alter their behavior]”); Nat’l Ass’n of Diversity
Officers in Higher Educ. v. Trump, 2025 WL 573764, *13 (D. Md. Feb. 21, 2025) (holding
challenge to executive orders requiring termination of grants was ripe because plaintiffs’
maintained “reasonable fears” about how the orders would be implemented), opinion clarified,
2025 WL 750690 (D. Md. Mar. 10, 2025); Stone v. Trump, 280 F. Supp. 3d 747, 767 (D. Md.
2017) (holding challenge to presidential memorandum was ripe because the only uncertainties
were “how, not if, the policy will be implemented”); see also Pac. Gas & Elec. Co. v. State Energy
Res. Conservation & Dev. Comm’n, 461 U.S. 190, 201–02 (1983) (holding dispute ripe where
industry plaintiffs needed to make planning decisions that would be affected by the challenged law
and to “require the industry to proceed without knowing whether the [law] is valid would impose
a palpable and considerable hardship on the[m]”).

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is to be a lawmaker.” Allbaugh, 295 F.3d at 32 (quoting Youngstown Sheet & Tube Co. v. Sawyer,

343 U.S. 579, 587 (1952)). As longstanding precedent confirms, the President’s power to

command executive officers “must stem either from an act of Congress or from the Constitution

itself.” Youngstown, 343 U.S. at 585. And the President lacks any authority to command that

agencies act “unconstitutionally or beyond his statutory powers.” Dalton v. Specter, 511 U.S. 462,

472 (1994) (quoting Larson v. Domestic & Foreign Com. Corp., 337 U.S. 682, 691 n.11 (1949)).

Because Defendants fail to identify any source of authority for the President’s lawless commands

in the E.O., the Court must enjoin any effort on the part of Defendants to carry out such edicts.

       A.      The Receipt Deadline provisions are ultra vires and violate the separation of
               powers.

       The Government’s defense of Section 7 of the E.O. rests upon three propositions: (1) that

it is in accordance with the Fifth Circuit’s holding in Wetzel; (2) that the E.O. grants the Attorney

General “prosecutorial discretion” as to how to enforce “the Election Day statutes” against the

States; and (3) that the EAC is “required” to condition State eligibility for certain funds on certain

federal standards. See Resp. 27. Each of these claims is misguided, and none answer the underlying

merits issue: What grant of constitutional or statutory authority permits the President or his

Attorney General to “enforce” their view of federal law on the States, where Congress has in fact

chosen not to displace reserved State authority? No such grant exists.

       First, Defendants note that Section 7 relies upon “the most recent circuit court decision to

consider ballot-receipt deadlines.” Resp. 27 (citing Wetzel, 120 F.4th at 200). But that decision’s

recency does nothing to remedy its flawed reasoning, which Defendants do not spend even a single

sentence trying to defend. Nor could they. Wetzel is rife with error from top to bottom: in its flawed

textual analysis (see Mem. 26–27); its gross reliance on a single irrelevant state law decision (id.

at 27–28); its improper construction of related statutes that recognize and incorporate States’ post-


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election ballot receipt deadlines (id. at 28–29); and its casual dismissal of longstanding State

practice (id. at 25; Compl. ¶¶ 45–46); see also Republican Nat’l Comm. v. Wetzel, 2025 WL

917346, at *3 (5th Cir. Mar. 14, 2025) (Graves, J., dissenting from denial of rehearing en banc)

(recounting these errors); id., at *12 (Higginson, J., similar). Defendants do not dispute any of

these points. Nor—like Wetzel itself—do they grapple with the weight of authority that contradicts

this novel reading of the Election Day Statutes. Mem. 25 n.12 (collecting authority). 7

       Second, Defendants insist that there is no problem here because the Attorney General “has

prosecutorial discretion” in how to “enforce the Election Day Statutes.” Resp. 27. In reality, the

Attorney General lacks any discretion under the E.O., which commands in no uncertain terms that

she “shall take all necessary action to enforce 2 U.S.C. 7 and 3 U.S.C. 1 against States” with post-

election ballot receipt deadlines. E.O. § 7(a). (emphasis added). 8 Such a command is clearly

“mandatory.” Carpet, Linoleum & Resilient Tile Layers, Loc. Union No. 419, Bhd. of Painters &

Allied Trades, AFL-CIO v. Brown, 656 F.2d 564, 568 (10th Cir. 1981) (concluding that “the

Secretary shall . . . take such action as may be necessary” was mandatory order, and that reference

to “necessary” action “did not permit disobedience to the initial directive”).

       Even if the Attorney General did possess some discretion under the E.O.’s text, it

unambiguously orders her to impose an unlawful reading of the Election Day Statutes on the States,

in violation of their reserved constitutional authority over election rules. See U.S. Const. art. I, §

4, c1. 1. “Prosecutorial discretion does not include the power to disregard other statutory

obligations that apply to the Executive Branch,” In re Aiken Cnty., 725 F.3d 255, 266 (D.C. Cir.


7
 Indeed, until the E.O., the United States consistently took the view that the Election Day Statutes
do not preclude States from adopting post-election day receipt laws. See Compl. ¶ 48.
8
  Notably, unlike many other commands within the E.O., Section 7(a) does not even pretend to
limit the Attorney General to “lawful” or “appropriate” actions, ordering her only to take all
“necessary” actions to achieve the President’s unlawful imposition on the States. E.O. § 7(a).

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2013), including the plain text meaning of the Election Day Statutes. Even where federal officials

possess discretion in how to act, they may not do so based on an “improper legal ground” or

“misinterpret[ation] of the law.” FEC v. Akins, 524 U.S. 11, 25 (1998) (explaining agency

discretion does not immunize it from unlawful action). That is precisely what Section 7 of the E.O.

requires the Attorney General to do, commanding her to act in a manner that presupposes the

President’s incorrect reading of the Election Day Statutes can preempt valid State laws. See Mem.

22–25. The E.O.’s opacity as to how the Attorney General will carry out the ultra vires duty

assigned to her is thus beside the point—it plainly requires that she “shall” act, any form of which

is ultra vires and contrary the vertical separation of powers. See Mem. 22–25. Yet she “has no

discretion to act in a manner contrary to law,” Hernandez v. Ashcroft, 345 F.3d 824, 829 (9th Cir.

2003), and should promptly be enjoined from doing so, accord Youngstown, 343 U.S. at 585.

        Third, and finally, Defendants offer a flawed defense of Section 7(b) that does not comport

with its plain text. They note first that the President is free to “express[] his views on priorities for

EAC funding grants.” Resp. 27. But that is not what Section 7(b) says or does. It states that the

EAC “shall condition” grants to the State on “each State adopt[ing] . . . a uniform and

nondiscriminatory ballot receipt deadline of Election Day[.]” E.O. § 7(b). It thus commands the

EAC to withhold funds to States that do not acquiesce to the President’s reading of the Election

Day Statutes. Id. The President lacks any authority to issue such a command and the EAC should

be enjoined from obeying it, particularly given the President’s insistence that EAC Commissioners

“may [not] advance an interpretation of the law . . . that contravenes the President.” See E.O.

14215, § 7 (claiming “control[]” over all “all employees in the conduct of their official duties”).

        For similar reasons, the EAC’s duty to ensure that States “adopt uniform and

nondiscriminatory standards that define what constitutes a vote,” 52 U.S.C. § 21081(a)(6), does



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not vindicate Section 7(b). Congress exercised its Elections Clause authority to “delegate[] to the

EAC”—not the President—the responsibility to enforce this duty. Gonzalez v. Arizona, 677 F.3d

383, 403 (9th Cir. 2012), aff’d sub nom. Arizona v. Inter Tribal Council of Ariz., Inc., 570 U.S. 1

(2013). In any event, Defendants nowhere explain how § 21081(a)(6)—which simply requires

States to adopt uniform and nondiscriminatory definitions of what constitutes a “vote”—conflicts

with State laws permitting post-election day receipt of mail ballots. See Resp. 27. Such laws apply

equally to all voters within a State and are thus, by definition, “uniform and nondiscriminatory.” 9

       B.      The DPOC provisions are ultra vires and violate the separation of powers.

       The Government’s defense of the E.O.’s DPOC provisions is similarly thin. Its chief riposte

is that the President is not violating the separation of powers because he has only asked the EAC

to take “appropriate” action. See Resp. 24–25. That cramped argument invites this Court to yet

again ignore the E.O.’s actual text, which commands that the EAC “shall” act within 30 days to

reach a predetermined outcome, namely “to require, in its national mail voter registration form

issued under 52 U.S.C. 20508 . . . (A) documentary proof of United States citizenship,” with such

proof expressly limited to documents handpicked by the President. E.O. § 2(a). Evidence now

shows the agency is doing just that, notwithstanding its claims to the contrary. See Ex. 1. Nothing

in the Constitution or NVRA empowers the President to give that command or to impose such an

outcome on the EAC—notwithstanding his own view that he may do so. See Mem. 30–32.

       This conclusion is not changed by the E.O.’s inclusion of boilerplate language in an entirely

separate provision stating the E.O. should be carried out in a manner “consistent with applicable


9
  Some States extend post-election day receipt deadlines exclusively to UOCAVA voters. See
Compl. ¶ 44. But Section 7(b) does not even purport to withhold grants to such States, E.O. § 7(b)
(excluding “ballots cast in accordance with [UOCAVA]” from subsection 7(b) specifically); but
see also Compl. ¶ 76 (explaining President Trump’s reading of the Election Day Statutes would
preempt even these State laws).

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law.” E.O. § 11(b); see Resp. 24–26 (asserting this argument). The inclusion of such a generic

disclaimer is not the get-out-of-jail-free card Defendants claim it is; it does nothing to erase the

E.O.’s far more specific—and ultra vires—command that the EAC take specific action on the

President’s dictated time-frame and reach his dictated outcome. To accept such an argument

“would simply lead [the Court] into an intellectual cul-de-sac.” City & Cnty. of S.F., 897 F.3d at

1240. If the E.O.’s proclamation that it is “‘consistent with law’ precludes a court from examining

whether the Executive Order is consistent with law, judicial review is a meaningless exercise,

precluding resolution of the critical legal issues.” Id. (further explaining that an “Executive Order’s

savings clause does not and cannot override its meaning”). Courts have therefore “repeatedly

rejected the argument that simply including ‘consistent with applicable law’ or a similar boilerplate

phrase inoculates an otherwise unconstitutional Executive Order from judicial review.” PFLAG,

2025 WL 510050, at *15; see also HIAS, Inc. v. Trump, 985 F.3d 309, 325 (4th Cir. 2021)

(rejecting “the government’s attempt to immunize the Order from review through a savings clause

which, if operational, would nullify the ‘clear and specific’ substantive provisions of the Order”

(quoting City & Cnty of S.F., 897 F.3d at 1239)).

       Section 2 itself contains no such qualifying language or any instruction telling the EAC to

follow its ordinary protocols—it is an unadorned command to accept the President’s diktat. See

E.O. § 2. “Because the Executive Order unambiguously commands action”—namely, the EAC’s

amendment of the Federal Form to suit President Trump’s wishes—“there is more than a mere

possibility that some agency might make a legally suspect decision.” City & Cnty. of S.F., 897

F.3d at 1240 (cleaned up). That concern is confirmed by the President’s own expressed view that

his orders bind and control all agency officials, even those Congress imbued with

independence. See E.O. 14215, § 7. Defendants are therefore wrong to say the President has not



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“ordered the EAC to deviate from the statutory procedures required to make such changes.” Resp.

25. He has made clear his view that any deviation from his command is a violation of his

proclaimed authority.

       This case is therefore nothing like Common Cause v. Trump (Resp. 25), in which the

President’s more specific command contained qualifying language that is entirely absent from

Section 2 of the E.O. See 506 F. Supp. 3d 39, 43, 47 (D.D.C. 2020) (emphasizing the “repeated

and unambiguous qualifiers” in the relevant provision). That qualifying language imbued federal

officials with wide discretion as to how to execute the “general policy” announced in the order. Id.

Not so here, where Section 2 dictates the specific way the EAC must modify the Federal Form. 10

       Defendants’ last gasp on this point is to insist that the EAC could choose to add a DPOC

requirement anyways. See Resp. 25–26. That, of course, is not what the E.O. says or does. 11 It is

also wrong as a matter of statute. See Mem. 32–33. The NVRA states that the Federal Form “may

require only such identifying information (including the signature of the applicant) and other

information (including data relating to previous registration by the applicant), as is necessary to

enable the appropriate State election official to assess the eligibility of the applicant and to

administer voter registration and other parts of the election process.” 52 U.S.C. § 20508(b)(1)



10
   Defendants’ other cases on this score are irrelevant for the same reason. See Allbaugh, 295 F.3d
at 33 (citing E.O. 13202, where challenged provision began with “To the extent permitted by law”
language); Open Soc’y Just. Initiative v. Trump, 510 F. Supp. 3d 198, 215 (S.D.N.Y. 2021)
(similar, where E.O. expressly instructed agencies to comply with underlying statute).
11
  For this reason, League of Women Voters of U.S. v. Newby, 838 F.3d 1, 11 (D.C. Cir. 2016) does
not help Defendants here. Resp. 26. That decision echoed the Supreme Court’s observation that it
would raise constitutional doubt if a federal law precluded a state from enforcing its voter
qualifications. Newby, 838 F.3d at 11 (citing ITCA, 570 U.S. at 17). No such doubt exists because
the NVRA permits States to petition the EAC to include “necessary” information. Id. But as ITCA
makes clear, that necessity determination is the EAC’s to make—not the President’s. 570 U.S. at
17–20.

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(emphases added). The NVRA then specifies the information necessary to establish U.S.

citizenship: “the signature of the applicant, under penalty of perjury,” attesting “that the applicant

meets each such requirement.” Id. § 20508(b)(2). This necessary information was not an idle

choice by Congress. The Senate specifically proposed amending the NVRA to state that “nothing

in this Act shall prevent a State from requiring presentation of documentation relating to

citizenship of an applicant for voter registration.” H.R. Conf. Rep. 103-66, at *23 (Apr. 28, 1993).

But the act’s conferees ultimately “agree[d] with the House bill” and “d[id] not include this

provision from the Senate amendment” because it was “not necessary or consistent with the

purposes of th[e] Act.” Id. The Conference Report then described the various ways such a

requirement could “interfere with” or “adversely affect” voter registration. Id. at *23–24.

       Defendants have no answer to this statutory text or legislative history. See Resp. 25–26.

They simply insist that the EAC may impose a DPOC requirement if “necessary” to confirm voter

qualification, ignoring that the NVRA’s text expressly says that it is not. See Mi Familia Vota v.

Fontes, 129 F.4th 691, 719 (9th Cir. 2025) (concluding DPOC not “necessary” under NVRA); cf.

Kobach v. U.S. Election Assistance Comm’n, 772 F.3d 1183, 1196 (10th Cir. 2014). Section 2 is

in every respect an unlawful assertion of power the President does not possess, to achieve an end

the NVRA does not permit. The EAC should be enjoined from carrying out its command.

       Finally, the Defendants’ response entirely ignores Section 2(d), which requires the heads

of federal voter registration agencies to “assess citizenship” before providing the Federal Form to

public assistance recipients (but no one else)—an arbitrary and discriminatory command, contrary

to the NVRA, upon which Democratic Party Plaintiffs clearly seek relief. See Mem. 33; but see

Resp. 24–26 (purporting to address Section 2(d) but nowhere addressing it). Defendants have

therefore conceded that Democratic Party Plaintiffs will likely prevail on the merits as to Section



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2(d). E.g., Yazdanpanahderav v. U.S. Dep’t of State, 2024 WL 3010874, at *3 (D.D.C. June 14,

2024) (“The Court may treat an argument to which a party fails to respond as conceded.”).

       C.      The Data-Sharing provisions are ultra vires.

       Finally, the Government’s arguments as to the E.O.’s Data-Sharing provisions contort its

own obligations under the Privacy Act. See Resp. 27–29. Defendants’ first argument is that the

various officials named in Section 2(b) are entitled to a “presumption of regularity” as to how they

will carry out the E.O.’s command to open the floodgates to the private information of millions of

Americans, Resp. 27, a crutch they rely on throughout their brief, e.g. id. 14, 31, 39–42. But they

repeatedly strain that presumption beyond its breaking point, ignoring that it cannot “shield

[agency] action from a thorough, probing, in-depth review.” Citizens to Pres. Overton Park, Inc.

v. Volpe, 401 U.S. 402, 415 (1971). Even where courts apply that presumption, “the court must

determine whether [an] agency act[s] within its statutory authority.” U.S. Lines, Inc. v. Fed. Mar.

Comm’n, 584 F.2d 519, 526 (D.C. Cir. 1978) (further noting courts must ensure compliance with

“applicable statutory and constitutional requirements”). Defendants elsewhere concede that ultra

vires and separation of powers claims like those at issue boil down to that exact same “question of

law,” namely whether executive officials have “the power to act in a certain way.” Resp. 23. It is

therefore not clear what benefit Defendants believe the presumption affords them here, where the

Court must in all events “engage in a substantial inquiry” into whether Defendants have lawful

authority to implement the E.O. Butte County v. Hogen, 609 F. Supp. 2d 20, 27 (D.D.C. 2009)

(quoting Volpe, 401 U.S. at 415). 12



12
   Nor does this presumption aid Defendants in staving off preliminary relief. See, e.g., New York
v. Trump, 2025 WL 914788, at *17 (1st Cir. Mar. 26, 2025) (declining to grant stay over
Administration’s request invoking the presumption); Fund For Animals v. Norton, 281 F. Supp.
2d 209, 230 (D.D.C. 2003) (finding plaintiffs likely to succeed on the merits and granting
preliminary injunction over invocation of presumption).
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       As to the Data-Sharing provisions, Defendants lack statutory authority to carry out the

E.O.’s commands. The Privacy Act bars “disclos[ing] any record which is contained in a system

of records by any means of communication to any person” absent consent or an exception. 5 U.S.C.

§ 552a(b). Such “disclosure” occurs upon an agency “granting access to record,” regardless of how

officials subsequently handle the information. See Am. Fed’n of Tchrs. v. Bessent, 2025 WL

895326, at *19 (D. Md. Mar. 24, 2025) (collecting authority); Tolbert-Smith v. Chu, 714 F. Supp.

2d 37, 43 (D.D.C. 2010) (similar). The E.O. commands just such granting of access. See E.O.

§ 2(b). Defendants fail to explain how the agencies subject to this command can conceivably obey

the order in any manner that comports with the Privacy Act.

       Defendants’ next tack is to point to an online service—the Systematic Alien Verification

for Entitlements program (“SAVE”)—that a few States already use to query a person’s citizenship

status. Resp. 28. But those States have access to SAVE through memoranda of understanding

specifically negotiated with the federal government—as SAVE requires. See Ex. 2 (“To use this

service, an agency must execute a Memorandum of Agreement with SAVE.”) (emphasis in

original). Access to “SAVE is not automatic.” Cent. Ala. Fair Hous. Ctr. v. Magee, 2011 WL

6010501, at *2 (M.D. Ala. Dec. 1, 2011) (explaining state agencies must apply for access and enter

into a memorandum of understanding). Once more, the E.O. turns this rule on its head, mandating

that federal agencies automatically disclose information to State and local officials.

       The Government next points to a separate database maintained by USCIS, suggesting it

falls within the “routine use” exception in the Privacy Act. See Resp. 28 (citing 5 U.S.C.

§ 552a(a)(7)); see generally U.S. Postal Serv. v. Nat’l Ass’n of Letter Carriers, AFL-CIO, 9 F.3d

138 (D.C. Cir. 1993) (describing routine use). But the sole published routine use notice it cites to

concerns State and local agencies “seeking” information from USCIS, Resp. 28 (citing Alien File,



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Index, and National File Tracking System of Records, 78 Fed. Reg. 69864-01, 69869 (Nov. 21,

2013)), which is once more the reverse of what the E.O. does. Even then, the routine use notice is

restricted to ascertaining the citizenship status of individuals within the “jurisdiction of the agency

for any purpose authorized by law.” 78 Fed. Reg. at 69869. Defendants point to no authorization

granting DOGE, for example, the authority to ascertain the citizenship status of individuals.

        Defendants suggest that Section 2(b)(iii) cannot violate the Privacy Act because it

references “publicly available” information that States must maintain under the NVRA. Resp. 29.

That misapprehends Plaintiffs’ claim, which is that this provision requires granting DOGE access

to non-public DHS information in violation of the Privacy Act. See Mem. 35–36. Defendants

ignore this point, effectively conceding it. Yazdanpanahderav, 2024 WL 3010874, at *3.

III.    The remaining preliminary injunction factors are satisfied.

        A.     Plaintiffs are suffering irreparable harm.

        Defendants’ response to Plaintiffs’ showing of irreparable harm merely repeats various

standing, ripeness, and merits arguments that are no more compelling the second time around. See

Resp. 30–35. Defendants’ only argument specific to the irreparable harm inquiry is their assertion

that the identified harms are not irreparable because agency action may be “subject to further

review under the APA.” Id. at 36. To be sure, Plaintiffs stand ready to seek relief upon their APA

claims in due course, but they have sought preliminary relief because the E.O. is harming them

now. As courts have repeatedly held, campaign- and election-related injuries like those

documented here are, by their nature, irreparable. 13 Elections are won or lost based on candidate


13
  E.g., Elrod v. Burns, 427 U.S. 347, 374 n.29 (1976); Carey v. FEC, 791 F. Supp. 2d 121, 133–
34 (D.D.C. 2011); League of Women Voters of N.C. v. North Carolina, 769 F.3d 224, 247 (4th Cir.
2014); League of Women Voters of Mo. v. Ashcroft, 336 F. Supp. 3d 998, 1005 (W.D. Mo. 2018);
Ind. State Conf. of the NAACP v. Lawson, 326 F.Supp.3d 646, 662–63 (S.D. Ind. 2018); Action



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recruiting, campaign strategizing, and voter registration efforts that plaintiffs are engaged in

now—and will continue to engage in every day—as this case progresses to judgment. See Mem.

36–43. Because an election, once lost, cannot be re-run, the injuries inflicted by the E.O. are plainly

irreparable. And contrary to Defendants’ representations, pre-enforcement preliminary injunctions

are an ordinary feature of executive order litigation. E.g., Stone, 280 F. Supp. 3d at 769.

       B.      The balance of equities and public interest favor an injunction.

       Preliminary relief is further warranted because the balance of the equities and the public

interest strongly weigh in Plaintiffs’ favor. “[T]he ‘Government cannot suffer harm from an

injunction that merely ends an unlawful practice.’” R.I.L.R v. Johnson, 80 F. Supp. 3d 164, 191

(D.D.C. 2015) (quoting Rodriguez v. Robbins, 715 F.3d 1127, 1145 (9th Cir. 2013)). Moreover,

“there is a substantial public interest ‘in having governmental agencies abide by the federal laws

that govern their existence and operations.’” Newby, 838 F.3d at 12 (citation omitted). Plaintiffs’

high likelihood of success, supra Section II, is therefore “a strong indicator that a preliminary

injunction would serve the public interest” by preventing the enforcement of an executive order

that violates federal law. Newby, 838 F.3d at 12.

       The public interest will also be served by an injunction because the E.O. creates a

substantial risk that citizens will be disenfranchised. See id. at 12. “[E]nsuring qualified voters

exercise their right to vote is always in the public interest.” Ashcroft, 336 F. Supp. 3d at 1006

(quoting Strach, 216 F. Supp. 3d at 648); see also Hanson v. D.C., 120 F.4th 223, 247 (D.C. Cir.

2024) (holding “[t]he public interest favors the protection of constitutional rights”).




NC v. Strach, 216 F. Supp. 3d 597, 642–43 (M.D.N.C. 2016); Project Vote, Inc. v. Kemp, 208 F.
Supp. 3d 1320, 1350 (N.D. Ga. 2016); N.C. State Conf. of the NAACP v. N.C. State Bd. of
Elections, 2016 WL 6581284, at *9 (M.D.N.C. Nov. 4, 2016); League of Women Voters of Fla. v.
Browning, 863 F. Supp. 2d 1155, 1167 (N.D. Fla. 2012).

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       Defendants dispute none of this. Nor do they successfully explain how a preliminary

injunction pending full merits consideration would cause them meaningful harm. See Resp. 37–

39. They rely chiefly on the E.O.’s own stated objectives—ensuring compliance with federal law,

protecting voting rights, and guarding against illegal voting—but fail to explain how the E.O.

meaningfully advances those interests. See id. at 38–39. As the Government’s terse defense of the

merits shows, it plainly does not. Finally, Defendants argue that an injunction would harm the

public interest by “restrain[ing] the President from overseeing the Executive Branch” in violation

of Article II. Id. at 38. But “[s]eeking to effectively enact legislation by executive order clearly

exceeds the bounds of Article II and thus does not serve the public interest.” PFLAG, 2025 WL

685124, at *29. And there is no public or equitable interest in lawless executive action. Newby,

838 F.3d at 12. Indeed, if this Court were to accept Defendants’ argument that an injunction should

not issue because it would limit the President’s ability to enact his policy agenda, “then no act of

the executive branch asserted to be inconsistent with” the Constitution’s limits on executive power

“could be the subject of a preliminary injunction. That cannot be so.” Washington v. Trump, 2025

WL 659057, at *27 (W.D. Wash. Feb. 28, 2025) (cleaned up).

IV.    Plaintiffs request appropriately tailored preliminary relief.

       Defendants argue that Plaintiffs’ requested relief is overbroad because the Challenged

Provisions “are consistent with [the agency heads’] existing statutory duties” and the “lawful

exercise of executive authority.” Resp. 44–45 (citing E.O. §§ 2(b), 7(a)). Enjoining these

provisions, they claim, would burden their ability to carry out “lawful” duties. Id. This argument

gets it backwards. The Court will issue an injunction if it finds Plaintiffs are likely to succeed on

the merits of their claims—i.e., that the Challenged Provisions are unlawful. Such an injunction

must be tailored to relieve the irreparable harm flowing from imminent or ongoing actions the

Court finds unlawful; it plainly need not preserve Defendants’ ability to pursue lawless activities.

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       Defendants further argue that any injunction as to the DPOC Provision “should be limited

to only Arizona” given its upcoming special congressional election. Resp. 43. To be sure, that

imminent election warrants prompt relief, see Mem. 15, but the need for prompt relief does not

stop there. Congress created the Federal Form “as a mandatory ‘backstop’ to state registration

forms.” Newby, 838 F.3d at 10. “No matter what procedural hurdles a State’s own form imposes,

the Federal Form guarantees that a simple means of registering to vote in federal elections will be

available.” ITCA, 570 U.S. at 12. It serves as a key part of Congress’s stated goal in the NVRA “to

establish procedures that will increase the number of eligible citizens who register to vote in

elections for Federal office.” 52 U.S.C. § 20501(b)(1). And it does so by permitting any qualified

voter in any State at any time to register to vote for the highest public offices in our nation.

Restricting relief to Arizona would deprive untold millions of Americans of this crucial backstop.

Given that clear harm, the Court should not accept the Government’s invitation to grant

“piecemeal” relief, PFLAG, 2025 WL 685124, at *30, that may well confuse voters subject to the

DPOC requirement in other States while litigation proceeds, Ass’n of Cmty. Cancer Centers v.

Azar, 509 F. Supp. 3d 482, 504 (D. Md. 2020). 14

                                         CONCLUSION

       The Court should grant the preliminary injunction requested by the Democratic Party

Plaintiffs. The Court should not require Plaintiffs to post a bond because—as they fail to contest—

Defendants will face “no monetary injury from the injunction.” Nat’l Council of Nonprofits, 2025

WL 597959, at *19 (declining to require security).



14
  Defendants also briefly echo their serial argument that certain issues must be addressed through
State-specific litigation. Resp. 45 (discussing Section 7(b)). For the reasons already stated, that is
wrong. Section 7(b) is injurious to Plaintiffs—who include nationwide political committees—as
enforced against any State; an injunction barring the EAC from carrying out its unlawful command
affords properly tailored relief.
                                                     25
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Dated: April 16, 2025                 Respectfully submitted,

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